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                                  UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF TEXAS
                                       SHERMAN DIVISION

WEARABLE SHOE TREE LLC,

                   Plaintiff,

       v.                                                    Civil Action No. 4:24-cv-334-SDJ

THE INDIVIDUALS, BUSINESS ENTITIES, AND
UNINCORPORATED ASSOCIATIONS IDENTIFIED ON
EXHIBIT 1,

                   Defendants.



                                 NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Wearable

Shoe Tree LLC voluntarily dismisses, with prejudice, its claims against the following defendants:

            •   DOE 18: Ningbo Beiduoen Health Tech. Co., Ltd. (Alibaba Merchant ID nbdg517)

            •   DOE 45: Qinhuangdao Fortune International Trade Co., Ltd. (Alibaba Merchant ID

                qhdfortune)

            •   DOE 127: dafmo (Amazon Merchant ID A10LQA1O9U7I0F)

            •   DOE 157: RoiLin (Amazon Merchant ID A224R22YUJXB7O)

            •   DOE 197: ARESTECH (Amazon Merchant ID A369MC729QS4E7)

            •   DOE 221: Margo D (Amazon Merchant ID A3VUNRK0TXR1PM)

            •   DOE 233: WuYanlv (Amazon Merchant ID ACU7V7L8UYWZR)

            •   DOE 250: ERGOfoot (Amazon Merchant ID AYCQGTR4WNN64)

            •   DOE       254:     KTATMARKETING            (CJDropshipping        Merchant         ID

                1432958264248614913)

            •   DOE 511: Erwei Xindong Co., Ltd (Walmart Merchant ID 10001192952)
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           •   DOE 519: TAMU Co.Ltd (Walmart Merchant ID 10001232250)

           •   DOE 522: RUANKE Co.Ltd (Walmart Merchant ID 10001240547)

           •   DOE 523: TIANBEN Co.Ltd (Walmart Merchant ID 10001240554)




 Dated: July 12, 2024                                Respectfully submitted,

                                                     SCALE LLP

                                                     By: /s/ Charles A. Wallace
                                                     Charles A. Wallace
                                                     Texas Bar No. 24110501
                                                     James H. Creedon
                                                     Texas Bar No. 24092299
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                                                     ATTORNEYS FOR PLAINTIFF
                                                     WEARABLE SHOE TREE LLC




                                  CERTIFICATE OF SERVICE

        I hereby certify that on July 12, 2024, I caused a true and correct copy of the foregoing to
be filed on the Court’s CM/ECF system, which served notice on all counsel of record.

                                                     By: /s/ Charles A. Wallace
                                                     Charles A. Wallace




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